  Case: 7:13-cv-00093-ART Doc #: 12 Filed: 11/21/13 Page: 1 of 2 - Page ID#: 56



                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               SOUTHERN DIVISION
                                    PIKEVILLE

 JILLIAN STANDIFUR,                             )
                                                )
        Plaintiff,                              )             Civil No. 13-93-ART
                                                )
 v.                                             )
                                                )                   ORDER
 ENCORE CAPITAL GROUP, INC., et al.,            )
                                                )
        Defendants.                             )
                                                )
                                     *** *** *** ***
       The plaintiff, Jillian Standifur, has informed the Court that the parties have reached a

settlement of all claims in this case. See R. 11. Accordingly, it is ORDERED that:

       (1)    This case is discontinued with prejudice but without costs and STRICKEN

              from the Court’s active docket, all pending motions are DENIED AS MOOT,

              and all scheduled hearings are CANCELLED.

       (2)    The Court retains jurisdiction over this case until Friday, December 20, 2013.

              See Memorandum Opinion and Order, Asher v. Unarco Material Handling,

              Inc., No. 06-548-ART, 2012 WL 3912761 (E.D. Ky. Sept. 7, 2012). After that

              date, the Court will no longer have jurisdiction over the case.

              (a)     If the parties cannot consummate the settlement by the deadline

                      terminating jurisdiction, then any party may move by December 20,

                      2013, to restore the case to the Court’s calendar.
Case: 7:13-cv-00093-ART Doc #: 12 Filed: 11/21/13 Page: 2 of 2 - Page ID#: 57



          (b)    The Court will consider signing and filing in the record an agreed order

                 of dismissal filed by the parties so long as the agreed order is filed by

                 December 20, 2013 and meets with the Court’s approval.

    This the 21st day of November, 2013.




                                           2
